      Case 8:25-cv-01119-MSS-LSG                            Document 4               Filed 05/05/25              Page 1 of 78 PageID 80
AO 121 (6/90)
TO:


                    Register of Copyrights                                                          REPORT ON THE
                    Copyright Office                                                        FILING OR DETERMINATION OF AN
                    Library of Congress                                                            ACTION OR APPEAL
                    Washington, D.C. 20559                                                      REGARDING A COPYRIGHT


     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                       COURT NAME AND LOCATION
                ACTION             APPEAL                              USDC – Middle District of Florida
DOCKET NO.                       DATE FILED
Case 8:25-cv-01119-MSS-
LSG
                                           May 1, 2025
PLAINTIFF                                                                      DEFENDANT



 Proven Industries, Inc.                                                           Trevor McNally


       COPYRIGHT
                                                             TITLE OF WORK                                               AUTHOR OF WORK
    REGISTRATION NO.

1         See attached


CLERK                                                         (BY) DEPUTY CLERK                                            DATE

            ELIZABETH M. WARREN                                                           MLB                                        May 5, 2025
                   1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                      mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                   4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41    Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page21of
                                                                    of78
                                                                       33PageID
                                                                         PageID81
                                                                                1




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
                           Case No.

  Proven Industries Inc, a Florida corporation

       Plaintiff,
        v.

 Trevor McNally, individual

        Defendant.
                                         /


      Verified Complaint for Damages and Demand for Jury Trial



       Plaintiff, Proven Industries Inc (hereinafter, "Proven" and/or "Plaintiff"),
 by and through their undersigned counsel, hereby file this Complaint against

 Defendant, Trevor McNally (hereinafter, "McNally" and/or "Defendant"), and

 alleges the following:

                                  Introduction

 1.    This is an action for: (i) copyright infringement under 17 U.S.C. § 501 et
 seq.; (ii) defamation by implication under Florida law; (iii) false advertising
 under the Lanham Act, 15 U.S.C. § 1125(a); (iv) violation of the Florida

 Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.201 et

 seq.; (v) tortious interference with business relationships; (vi) unjust
 enrichment; (vii) civil conspiracy; and (viii) trade libel under Florida law. Each

 cause of action is based on a distinct legal theory and seeks separate and non-
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document41    Filed
                                            Filed05/05/25
                                                  05/01/25   Page
                                                             Page32of
                                                                   of78
                                                                      33PageID
                                                                        PageID82
                                                                               2




 duplicative relief arising from different forms of harm caused by Defendant’s
 conduct.

 2.    McNally published and widely distributed a misleading and defamatory
 video purporting to demonstrate a vulnerability in Proven's proprietary lock

 product. The McNally Video used portions of Proven's copyrighted content

 without authorization, falsely depicted the product as ineffective, and resulted
 in reputational harm, lost sales, and increased marketing costs to Proven.
 3.    McNally published a video on multiple social media platforms including

 YouTube, Instagram, TikTok, and Facebook. As of the date of filing, McNally
 has over 3.5 million, YouTube subscribers, 536,000 Instagram followers, 2.5

 million TikTok followers, and 267,000 Facebook followers.

 4.    On information and belief, McNally is affiliated with and/or an agent of

 Covert Instruments (hereinafter "Covert"), a company that sells lock-picking
 tools. McNally lists Covert's website on his social media pages, and Covert

 Instruments' website features McNally and benefits from the misleading

 content McNally produces.
 5.    McNally published the video in a manner that intentionally targeted and

 caused foreseeable harm to Proven Industries in the Middle District of Florida.

 Although McNally did not film the video in Florida, McNally committed
 intentional   torts—including     defamation     by   implication,    copyright

 infringement, and unfair trade practices—knowing that Proven, a Florida-
 based company, would suffer reputational and commercial injury in this

 District.

                           Jurisdiction and Venue


                                        2
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41      Filed
                                               Filed05/05/25
                                                     05/01/25   Page
                                                                Page43of
                                                                      of78
                                                                         33PageID
                                                                           PageID83
                                                                                  3




 6.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and
 1338(a) (federal questions: copyright and Lanham Act), and supplemental

 jurisdiction under 28 U.S.C. § 1367 over the related state-law claims.
 7.    Personal jurisdiction is proper under Florida long-arm statute, Fla. Stat.
 § 48.193, because McNally committed intentional torts—including willful

 copyright infringement, defamation by implication, and deceptive trade

 practices—that McNally knew or should have known would cause injury in
 Florida. Although McNally resides in Virginia, McNally directed his conduct

 toward a Florida-based business with the intent to affect its operations,
 making his actions purposefully directed toward Florida for jurisdictional

 purposes.

 8.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a

 substantial part of the events giving rise to the claims occurred here, and the
 harm was suffered here.

 9.    Plaintiff has complied with all conditions precedent to the filing of this

 action. To the extent that Fla. Stat. § 770.01 applies, Plaintiff provided the
 required notice to Defendant prior to filing suit.

                                     Parties
 10.   Plaintiff, Proven Industries Inc, is a Florida corporation with its
 principal place of business in Florida.

 11.   Defendant, Trevor McNally is an individual above the age of majority
 residing in Virginia.
 12.   Defendant, Trevor McNally maintains an online presence for commercial

 purposes under the user display name "McNallyofficial".


                                           3
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG       Document
                                 Document41    Filed
                                               Filed05/05/25
                                                     05/01/25   Page
                                                                Page54of
                                                                      of78
                                                                         33PageID
                                                                           PageID84
                                                                                  4




                                Factual Allegations
 13.     Plaintiff, Proven Industries, Inc., is the sole author and copyright owner

 of a video titled “YOU GUYS KEEP SAYING YOU CAN EASILY BREAK OFF
 OUR LATCH PIN LOCK” (the “Proven Video”).
 14.     The Proven Video was completed and first published on March 3, 2025.

 15.     The Proven Video was uploaded to Plaintiff’s official YouTube Shorts
 account, its Tik Tok account, its Instagram account, and its Facebook account

 on March 3, 2025.

 16.     The Proven Video consists entirely of original audiovisual content

 created by Plaintiff as a work made for hire and includes original
 cinematography, visual effects, product demonstration, branding, scripting,

 and editing.
 17.     The Proven Video is registered with the United States Copyright Office

 under Registration No. PA 2-524-347. A true and correct copy of the Certificate

 of Registration is attached hereto as Exhibit A.
 18.     The effective date of registration is April 7, 2025.

 19.     Defendant extracted, reproduced, and republished a portion of the

 Proven Video without authorization.
 20.     McNally published the subject video (the “McNally Video”) on April 3,
 2025.

 21.     The McNally Video was uploaded to McNally’s YouTube Shorts, TikTok,
 Instagram, and Facebook accounts.
 22.     The video is accessible from devices located within the Middle District of

 Florida at the following URLs:


                                           4
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG      Document
                                Document41   Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page65of
                                                                    of78
                                                                       33PageID
                                                                         PageID85
                                                                                5




          a. YouTube Shorts: https://www.youtube.com/shorts/YjzlmKz_MM8
          b. Instagram: https://www.instagram.com/p/DIAH9vps19y/?hl=en

          c. TikTok: https://www.tiktok.com/@mcnallyofficial/video/
             7489223700735118622
          d. Facebook: https://www.facebook.com/share/r/1ZicXjkyNb/

 23.   The McNally Video incorporates an EXACT copy of excerpts of the
 Proven Video at its outset and uses it without transformation or commentary,

 except to frame it for ridicule.

 24.   Attached in Exhibit B is a composite of still images of the McNally Video

 – showing that McNally copied EXACT portions of the Proven Video.

 25.   Shown directly below is a first representative still image of the McNally

 Video – showing that McNally made an EXACT copy of excerpts of the Proven

 Video.




                                        5
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41    Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page76of
                                                                    of78
                                                                       33PageID
                                                                         PageID86
                                                                                6




 26.   As shown on the page directly above, the McNally Video published by

 McNally begins with the audio and visual work of the Proven Video.
 27.   Shown directly below is a side-by-side comparison that serves as a
 representative example of how the McNally Video includes an exact

 reproduction of the Proven Video.




       Proven Video (left)                         McNally Video (right)

 28.   As shown directly above, the image on the left is a frame from the

 original Proven Video published by Plaintiff, and the image on the right is a
 corresponding frame from the McNally Video published by Defendant. The

 closed captioning of the audio is the same on both still images – reciting, "today


                                         6
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document41    Filed
                                            Filed05/05/25
                                                  05/01/25   Page
                                                             Page87of
                                                                   of78
                                                                      33PageID
                                                                        PageID87
                                                                               7




 I'm going to prove". The images are nearly identical in content, showing the
 same background, subject, gesture, lighting, and attire. The McNally Video

 replicates the exact moment from the Proven Video, including the same

 individual, motion, and visual sequence. The juxtaposition of these frames
 shows that Defendant copied and republished a portion of Plaintiff’s original

 copyrighted video verbatim and without transformation, modification, or
 commentary.
 29.   Approximately two seconds into the McNally Video, the footage shifts to

 a point-of-view perspective in which Defendant is shown watching the Proven
 Video on a mobile device. The Proven Video is visibly displayed on the screen,

 and its original audio is clearly audible within the McNally Video. Shown

 directly below is a second representative still image of the McNally Video.




                                        7
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document41    Filed
                                            Filed05/05/25
                                                  05/01/25   Page
                                                             Page98of
                                                                   of78
                                                                      33PageID
                                                                        PageID88
                                                                               8




 30.   The portion of the Proven Video that Defendant copied, as shown on
 McNally's phone in the still image of the video shown directly above on the

 preceding page, is used by McNally as a visual and thematic springboard for

 Defendant’s performance, and was not shared via embed, remix, or other
 platform-native features.

 31.   The first approximately sixteen seconds of the McNally Video consist of
 spliced excerpts taken directly from the Proven Video. These excerpts include

 both visual and audio elements and were arranged by Defendant without

 transformation, commentary, or attribution. Although the excerpts are non-

 continuous, they collectively depict key portions of the Proven Video, including

 the company’s logo, product description, demonstration footage, and an image

 of a Proven employee.
 32.   The McNally Video, with its editing, timing and context, gives consumers

 the false or at least misleading, impression that shimming Proven’s lock is

 mere “child’s play.”




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                                        8
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41 Filed
                                         Filed05/05/25
                                               05/01/25 Page
                                                         Page10
                                                              9 of 33
                                                                   78 PageID 9
                                                                             89




 33.   In the McNally Video, McNally appears swinging his legs and sipping
 from an apple juice box, conveying to the purchasing public that bypassing

 Plaintiff’s lock is simple, trivial, and even comical. Shown directly below is a
 third representative still image of the McNally Video, showing McNally
 drinking from, and shaking, a juice box, all while swinging his legs, and

 displaying the Proven Video on a mobile device. The audio from the Proven
 Video was not playing out of the mobile device, rather, was extracted from the
 Proven Video, and played over the McNally Video so that it could be clearly

 heard by viewers.




 34.   The tone, posture, and use of the juice box prop and childish leg swinging

 that McNally orchestrated in the McNally Video was intentional to diminish
 the perceived seriousness of Proven Industries as a professional manufacturer


                                        9
Case 8:25-cv-01119-MSS-LSG    Document 4
                                       1      Filed 05/05/25
                                                    05/01/25   Page 11
                                                                    10 of 78
                                                                          33 PageID 90
                                                                                    10




 and falsely imply that the company markets products that are unserious,
 insecure, or not worthy of consumer trust.

 35.   The lock-picking sequence is edited to appear as a single, continuous 12-
 second event. Visual inconsistencies, including changes in the shim’s shape,

 hand positioning, and lighting, indicate the footage was edited or re-shot and

 spliced to present a simplified narrative.
 36.   Shown directly below is a fourth representative still image taken from
 the McNally Video at approximately the 19–20 second mark, which depicts a

 first appearance of the shim used by McNally in McNally's lock-picking

 demonstration.




                                        10
Case 8:25-cv-01119-MSS-LSG   Document 4
                                      1     Filed 05/05/25
                                                  05/01/25   Page 12
                                                                  11 of 78
                                                                        33 PageID 91
                                                                                  11




 37.   Shown directly below is a fifth representative still image taken from the
 McNally Video at approximately the 30 second mark, which depicts a second

 appearance of the shim used by McNally in McNally's lock-picking
 demonstration.




 38.   A comparison between the first application of the shim and its second

 appearance in the McNally Video reveals that the cutout or notch in the shim


                                       11
Case 8:25-cv-01119-MSS-LSG    Document 4
                                       1     Filed 05/05/25
                                                   05/01/25   Page 13
                                                                   12 of 78
                                                                         33 PageID 92
                                                                                   12




 appears to differ in size between the two shots, suggesting that different shims
 were used or that the footage was edited between attempts.

 39.   This visual inconsistency supports the inference that the McNally Video
 was not filmed in a single, continuous take and was edited to conceal failed or

 repeated attempts at bypassing the lock.

 40.   Attached in Exhibit C is a composite of additional still images taken
 from the McNally Video showing discrepancies in the McNally Video which are
 indicative of misleading editorial practices by McNally.

 41.   While the shim is briefly visible in the McNally Video, Defendant failed

 to disclose that successfully bypassing the lock required prior disassembly of
 the product to examine its internal components, including the position of the

 plunger, and to manufacture a custom-fit shim with precise notch dimensions.
 42.   This omitted context misleadingly suggests that the bypass could be

 performed easily without specialized knowledge, preparation, or internal

 measurement.
 43.   Although Defendant makes no verbal statements in the McNally Video,

 the video communicates materially false and misleading messages through its

 visual narrative, editing choices, tone, and omissions. Specifically, the McNally
 Video falsely implies that Plaintiff’s lock product can be easily and trivially
 bypassed by an unskilled person in a matter of seconds using basic tools,

 without any prior disassembly or technical preparation. The use of juvenile

 imagery, such as sipping from a juice box while casually applying the shim,
 reinforces the misleading impression that the lock is inherently insecure and

 marketed deceptively — all of which is implied without any express claim being


                                        12
Case 8:25-cv-01119-MSS-LSG     Document 4
                                        1     Filed 05/05/25
                                                    05/01/25   Page 14
                                                                    13 of 78
                                                                          33 PageID 93
                                                                                    13




 made.
 44.   The Infringing Video begins with excerpts from Plaintiff’s professionally

 produced promotional video showing its branded product demonstration,
 including voiceover descriptions and visuals of the product in use. The video

 then abruptly shifts to Defendant in a childlike persona, sipping from a juice

 box and casually applying a shim to the lock. The video omits any reference to

 preparation, tooling, or disassembly, and presents the lock bypass as effortless
 and trivial. The overall presentation implies to the average viewer that

 Plaintiff’s product lacks meaningful security and that Plaintiff misrepresents

 its functionality to the public.
 45.   Defendant’s reuse of the Proven Video was not authorized by Plaintiff

 and was not confined to any fair use or statutory exemption.
 46.   The portion of the Proven Video copied by Defendant was not used for

 commentary, criticism, education, or news reporting, but rather for commercial

 entertainment and mockery.
 47.   Defendant’s use was not transformative; the excerpt was copied

 verbatim and used to mischaracterize and target Plaintiff’s product, rather

 than to provide any genuine analysis or new expressive purpose.
 48.   The reproduction of Plaintiff’s copyrighted material was not necessary to
 convey any legitimate message, and was instead included to improperly attract

 attention, ridicule Plaintiff, and frame the lock product as insecure and trivial.
 49.   Defendant’s use of the Proven Video competed with Plaintiff’s original
 publication on the same social media platforms, diverted traffic and

 engagement, and impaired the market value and licensing potential of the


                                         13
Case 8:25-cv-01119-MSS-LSG      Document 4
                                         1    Filed 05/05/25
                                                    05/01/25   Page 15
                                                                    14 of 78
                                                                          33 PageID 94
                                                                                    14




 original work and advertised product.
 50.   On YouTube, Defendant’s use exceeded the limited license available to

 users, which permits only playback or embedding. McNally created a separate,
 monetized derivative work from Plaintiff’s copyrighted content.
 51.   On Facebook and Instagram, McNally’s reuse of the Proven Video

 violated Meta’s Terms of Use and Community Standards, which prohibit users
 from uploading copyrighted content without permission. Meta does not grant

 content licenses between users.

 52.   On TikTok, although users may remix content within the platform,

 McNally did not use TikTok’s built-in tools to remix or stitch the Proven Video.
 Instead,    McNally    uploaded   a   pre-produced    video    (“McNally   Video”)

 incorporating Plaintiff’s copyrighted content without permission.
 53.   McNally warranted to TikTok that McNally owned or had rights to all

 content in the McNally Video, as required by TikTok’s Terms of Service. That

 warranty was false.
 54.   The McNally Video contains no disclaimers, limitations, or clarifications

 about the video’s context, setup, or repeatability under normal conditions.

 55.   As of April 17, 2025:
            a. The McNally Video received over 9.6 million views, 435,000 likes,
               and 6,262 comments on YouTube Shorts;

            b. on Instagram, it received over 514,000 likes, 3,190 comments, and

               20,000 shares;
            c. on TikTok, it received over 3.2 million views, 314,900 likes, 1,981

               comments, and 17,100 saves; and


                                         14
Case 8:25-cv-01119-MSS-LSG     Document 4
                                        1     Filed 05/05/25
                                                    05/01/25   Page 16
                                                                    15 of 78
                                                                          33 PageID 95
                                                                                    15




             d. on Facebook, it was posted to McNally’s account, which has over
               267,000 followers.

 56.   Following publication, Plaintiff received public comments and customer
 inquiries referencing the McNally Video and expressing concern or doubt about

 the integrity of Plaintiff’s product.

 57.   On information and belief, Plaintiff lost business opportunities with
 commercial customers who viewed the McNally Video and opted not to

 purchase or proceed with intended transactions.

 58.   Plaintiff incurred reputational damage, customer confusion, and the

 need for emergency marketing and advertising techniques and procedures to
 mitigate the harm caused by the McNally Video.

 59.   McNally monetizes his content across platforms and links to Covert

 Instruments—a company that sells lock-picking tools—across his social media
 profiles.

 60.   On information and belief, McNally receives compensation or other

 commercial benefits from his publication of the McNally Video.

 61.   On information and belief, McNally receives compensation or other

 commercial benefits from his affiliation with Covert Instruments.
 62.   On information and belief, McNally coordinated with individuals at or
 affiliated with Covert Instruments to produce and publish the McNally Video.

 63.   Following publication of the McNally Video, McNally’s followers began
 engaging in a coordinated pattern of online harassment targeting Plaintiff.
 64.   Numerous of McNally’s followers have commented on Plaintiff’s social

 media posts with disparaging, threatening, or mocking language, often echoing


                                         15
Case 8:25-cv-01119-MSS-LSG    Document 4
                                       1      Filed 05/05/25
                                                    05/01/25   Page 17
                                                                    16 of 78
                                                                          33 PageID 96
                                                                                    16




 the themes, imagery, and misleading implications conveyed by the McNally
 Video, as illustrated by representative examples attached hereto as Exhibit

 D.
 65.   Plaintiff’s customer service channels received abusive or misleading
 messages from individuals who identified themselves as viewers of the

 McNally Video. Exhibit D.
 66.   Numerous false or negative online reviews and comments referencing
 McNally’s video appeared across platforms shortly after its publication,

 suggesting a coordinated response from McNally’s audience. Exhibit D.
 67.   On information and belief, McNally knew or should have known that

 publishing the McNally Video to his audience of millions would incite a wave

 of targeted hostility toward Plaintiff located in the Middle District of Florida.
 68.   McNally’s substantial social media reach—over 3.5 million YouTube

 subscribers, 2.5 million TikTok followers, 536,000 Instagram followers, and

 267,000 Facebook followers—amplified the harm and enabled large-scale

 reputational injury.
 69.   The conduct of McNally’s followers, acting in concert and with knowledge

 of the McNally Video’s purpose, contributed directly to the harm suffered by

 Plaintiff and was foreseeable, encouraged, and ratified by McNally’s platform
 and silence.

 70.   The timing, content, and branding of the McNally Video reflect a
 common plan to disparage Plaintiff and promote Covert Instruments’ affiliated
 products and services.

 71.   McNally’s conduct was part of a broader scheme to harm Plaintiff’s


                                         16
Case 8:25-cv-01119-MSS-LSG       Document 4
                                          1   Filed 05/05/25
                                                    05/01/25   Page 18
                                                                    17 of 78
                                                                          33 PageID 97
                                                                                    17




 business reputation and drive consumer attention to alternative products or
 services affiliated with him.

 72.    McNally acted with actual malice or with reckless disregard for the truth
 by knowingly presenting a misleading demonstration and suppressing key

 context.

 73.    McNally failed to exercise reasonable care or competence in assessing
 and representing Plaintiff’s product, despite presenting himself as an expert.
 74.    McNally’s use of the Proven Video was not incidental, transformative, or

 justified—it was commercial, deliberate, and intended to attract viewership
 and revenue by disparaging Plaintiff’s product.
 75.    McNally unjustly retained commercial benefits from this conduct,

 including increased engagement, monetization, promotional clicks, and

 affiliate traffic.
 76.    Defendant’s conduct was not a one-time error in judgment, but rather a

 calculated effort to ridicule Plaintiff’s product and brand before a massive

 online audience, knowing that doing so would spark reputational harm and
 commercial loss.

 77.    Defendant published the McNally Video with actual knowledge that its
 visual editing, omissions, and mock tone would lead viewers to believe that
 Plaintiff’s lock product was ineffective and deceptively marketed — despite

 Defendant knowing that bypassing the lock required specialized preparation

 and manipulation not disclosed to the viewer.
 78.    Defendant acted with deliberate indifference to the truth, including by

 failing to disclose that the lock was disassembled and studied in advance, that


                                         17
Case 8:25-cv-01119-MSS-LSG     Document 4
                                        1       Filed 05/05/25
                                                      05/01/25   Page 19
                                                                      18 of 78
                                                                            33 PageID 98
                                                                                      18




 a custom shim was designed to defeat it, and that the lock’s bypass was staged
 and edited for effect.

 79.   Rather than publish fair commentary or criticism, Defendant selected
 and copied branded portions of Plaintiff’s copyrighted video, stripped of

 context, and presented them with mocking theatrics and edited staging — for

 the deliberate purpose of humiliating Plaintiff and falsely implying its product
 is insecure.
 80.   Defendant is a self-described lock expert with over 3.5 million YouTube

 subscribers and commercial ties to Covert Instruments — a company that
 markets lock picking tools. Defendant was fully aware of the weight his

 endorsement or criticism carries and exploited that authority to discredit

 Plaintiff’s product for financial gain.
 81.   Defendant failed to issue any clarification, disclaimer, or correction

 despite knowing that his followers were using the McNally Video to launch

 disparaging, harassing, and defamatory attacks on Plaintiff through

 coordinated online messaging, including threats, false reviews, and customer

 service abuse.

 82.   On information and belief, Defendant collaborated with individuals
 affiliated with Covert Instruments in developing, editing, and disseminating
 the McNally Video, in furtherance of a commercial scheme to divert attention

 from Plaintiff’s product to competing tools or services.
 83.   Defendant     monetized    the      McNally    Video,     promoted   affiliated
 commercial links alongside it, and knowingly submitted false licensing

 representations to social media platforms to obtain algorithmic amplification


                                           18
Case 8:25-cv-01119-MSS-LSG    Document 4
                                       1    Filed 05/05/25
                                                  05/01/25   Page 20
                                                                  19 of 78
                                                                        33 PageID 99
                                                                                  19




 and increased monetization — despite knowing that he lacked rights to
 Plaintiff’s copyrighted content.

                                   Count I
                           Copyright Infringement
                            17 U.S.C. §501 et seq.
 84.   Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set

 forth herein.
 85.   This count arises from Defendant’s unauthorized reproduction and
 public display of protected audiovisual content owned by Plaintiff, and seeks

 statutory or actual damages, along with injunctive relief under the Copyright

 Act
 86.   Plaintiff owns a valid and registered copyright in the Proven Video.

 87.   Defendant copied, reproduced, publicly displayed, and distributed

 substantial portions of the Proven Video without authorization, including on
 YouTube, TikTok, Instagram, and Facebook.

 88.   Defendant’s conduct was not authorized by license, not excused by fair

 use, and was done for commercial purposes.

 89.   Defendant acted willfully and in reckless disregard of Plaintiff’s

 exclusive rights.
 90.   Defendant’s infringement was willful because McNally knowingly
 uploaded Plaintiff’s copyrighted content to social media platforms including

 but not limited to YouTube, Instagram, and Facebook, under the guise that

 McNally either owned the content or had permission to distribute it — a
 prerequisite under each platform’s Terms of Service.

 91.   Defendant’s false certifications enabled him to gain preferential


                                       19
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41      Filed
                                               Filed05/05/25
                                                     05/01/25   Page
                                                                Page21
                                                                     20of
                                                                        of78
                                                                           33PageID
                                                                             PageID100
                                                                                    20




  algorithmic exposure, monetization, and viral reach using Plaintiff’s content,
  further demonstrating the commercial motive and knowing violation of

  Plaintiff’s rights.
  92.   As a direct result of the infringement, Plaintiff suffered damages
  including, but not limited to, loss of control over its intellectual property, lost

  licensing opportunities, reputational harm, and diminution in the value of the

  copyrighted work.

                                   Count II
                           Defamation by Implication
  93.   Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set

  forth herein.

  94.   This count arises from Defendant’s publication of the McNally Video,

  which, through tone, editing, omission, and visual presentation, falsely implied

  to viewers that Plaintiff’s business was dishonest or incompetent and that

  Plaintiff’s lock product was inherently untrustworthy.
  95.   Although the McNally Video did not explicitly state that Plaintiff

  committed fraud or sold a defective product, Defendant juxtaposed facts and

  edited content in a way that conveyed a defamatory implication — namely,
  that Plaintiff markets a security device that is ineffective, deceptively

  advertised, and easy to defeat by even an unskilled user.

  96.   Defendant’s McNally Video downplays the difficulty of shimming

  Proven’s lock by making it seem as if shimming the lock is mere “child’s play”
  by having the actor sip apple juice from an apple juice box and swing his legs

  in in a childlike manner – all while the actor watches Proven Video on a mobile
  device, which was specifically designed to ridicule Plaintiff and to suggest that

                                          20
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41      Filed
                                               Filed05/05/25
                                                     05/01/25   Page
                                                                Page22
                                                                     21of
                                                                        of78
                                                                           33PageID
                                                                             PageID101
                                                                                    21




  its product is so flawed that it poses no real security barrier.
  97.   These implications were materially misleading and false, and they were

  conveyed to millions of viewers across multiple platforms including YouTube,
  TikTok, Instagram, and Facebook.
  98.   Defendant acted with actual malice or reckless disregard for the truth

  by presenting the product demonstration out of context, omitting necessary
  disclosures (such as the use of a custom shim, manipulation time, or setup),

  and selectively editing the footage to mislead viewers about the real-world

  difficulty of compromising the product.
  99.   Viewers understood the McNally Video to imply that Plaintiff’s product

  — and by extension, Plaintiff’s company — was disreputable or fraudulent.

  The implications extended beyond the product itself to cast doubt on Plaintiff’s

  honesty, competence, and value as a manufacturer.
  100. As a direct and proximate result of these defamatory implications,
  Plaintiff and Plaintiff’s product’s reputation suffered reputational injury,

  public ridicule, diminished trust within the customer base, and measurable
  economic harm in the form of lost goodwill, canceled transactions, and the need

  for emergency marketing expenditures.

                                    Count III
                                False Advertising
                                15 U.S.C. §1125(a)
  101. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
  forth herein.
  102. This count arises from the Defendant's materially false or misleading
  statements made in commercial promotion that misled consumers and diverted


                                          21
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG      Document
                                Document41    Filed
                                              Filed05/05/25
                                                    05/01/25   Page
                                                               Page23
                                                                    22of
                                                                       of78
                                                                          33PageID
                                                                            PageID102
                                                                                   22




  business from Plaintiff.
  103. These misrepresentations were made in commercial promotion and are
  likely to influence consumer purchasing decisions.
  104. Defendant’s false claims about the ease of bypassing the lock were
  material and deceptive.

  105. Defendant’s false representations were made in connection with the
  commercial promotion of alternative products or services affiliated with

  Defendant and/or Covert Instruments, and therefore directly harmed

  Plaintiff’s commercial interests and consumer perception in the marketplace.
  106. Plaintiff suffered actual harm to its business, reputation, and goodwill.
  107. As a result, Plaintiff suffered actual harm including lost sales, reduced
  consumer confidence, market confusion, and increased costs to counteract false

  perceptions of its product.

                                     Count IV
                              Violation of FDUTPA
                             Fla. Stat. §501.201 et seq.
  108. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
  forth herein.

  109. This count arises because the Defendant engaged in deceptive and unfair
  practices in the course of trade and commerce by publishing misleading and
  materially false representations that affected Plaintiff’s business operations

  and Florida consumers.
  110. Such deceptive acts included: (a) using Plaintiff’s copyrighted content
  without authorization, (b) editing or presenting the content to imply product

  failure, and (c) omitting context regarding custom tools and manipulation time


                                         22
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document41     Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page24
                                                                   23of
                                                                      of78
                                                                         33PageID
                                                                           PageID103
                                                                                  23




  necessary to perform the bypass shown.
  111. Defendant’s conduct was likely to mislead reasonable consumers and
  had the capacity to deceive the public into believing that Plaintiff’s product
  was defective, insecure or easily shimmed, when in fact it was not.
  112. Defendant’s actions were not merely opinion or puffery but constituted
  factual misrepresentations relating to the quality, functionality, and
  performance of a consumer product.
  113. As a direct and proximate result of Defendant’s deceptive and unfair
  practices, Plaintiff suffered actual damages, including lost customer
  relationships, diminished consumer trust, and the need for corrective

  advertising and public relations expenditures.

                                 Count V
                        Tortious Interference with
                    Prospective Business Relationships
  114. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
  forth herein.
  115. This count arises from Defendant’s intentional disruption of Plaintiff’s
  business relationships and prospective contracts.

  116. Plaintiff had valid business relationships with existing and prospective
  customers, including trailer manufacturers, distributors, and end-users.
  117. Defendant knew of these relationships or reasonably should have known
  of them.
  118. Defendant intentionally and unjustifiably interfered with these
  relationships by publishing false, disparaging, and misleading content.

  119. Defendant’s conduct, including the publication of the McNally Video and


                                        23
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41      Filed
                                               Filed05/05/25
                                                     05/01/25   Page
                                                                Page25
                                                                     24of
                                                                        of78
                                                                           33PageID
                                                                             PageID104
                                                                                    24




  the resulting coordinated activity by his followers, interfered not only with
  Plaintiff’s customer relationships but also with Plaintiff’s advertising efforts

  and marketing channels, causing reduced ad engagement, increased negative

  responses to paid placements, and the need for unplanned emergency media
  spend.

  120. Plaintiff lost business and revenue as a result of such interference,
  including canceled commercial transactions, terminated sales leads, and

  interruption of planned advertising strategy.

                                   Count VI
                               Unjust Enrichment
  121. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
  forth herein.
  122. This count arises from Defendant’s unauthorized use and monetization
  of Plaintiff’s content and seeks equitable relief therefor.

  123. Defendant misappropriated Plaintiff’s copyrighted content and used it to
  generate engagement, revenue, and traffic to his own platforms and affiliate

  entities.

  124. Defendant’s enrichment was not limited to monetization or exposure; it
  was also derived by falsely warranting to social media platforms that McNally
  had the rights to use Plaintiff’s copyrighted content, thereby bypassing

  platform restrictions and gaining algorithmic distribution and user trust that

  would otherwise have been denied.
  125. Defendant's conduct violated the spirit and letter of the limited user
  licenses granted under YouTube, TikTok, and Meta’s Terms of Service,
  resulting in additional inequitable benefit.

                                          24
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41    Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page26
                                                                   25of
                                                                      of78
                                                                         33PageID
                                                                           PageID105
                                                                                  25




  126. Defendant retained a benefit to which McNally was not entitled, and it
  would be inequitable for Defendant to retain that benefit without

  compensation to Plaintiff.
  127. As a result, Plaintiff was deprived of control over its copyrighted work,
  licensing revenue, and competitive market position.

                                   Count VII
                                Civil Conspiracy
  128. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
  forth herein.
  129. This count arises from a coordinated and intentional effort by Defendant,
  acting in concert with third parties, including Covert Instruments and others,

  to cause reputational and commercial harm to Plaintiff through the
  production, distribution, and amplification of the McNally Video and the

  resulting wave of disparagement.

  130. On information and belief, Defendant entered into an agreement or
  common plan with one or more individuals affiliated with Covert Instruments

  to publish a misleading and harmful McNally Video targeting Plaintiff’s lock

  product, with the shared purpose of damaging Plaintiff’s reputation and

  market share while promoting Covert’s lock-picking tools and related products.
  131. The McNally Video prominently featured branding, language, and
  promotional elements tied to Covert Instruments, including outbound links to

  Covert’s website in the social media bios affiliated with McNally. Covert

  Instruments’ website likewise featured Defendant and benefited from the

  publication.
  132. Following publication of the McNally Video, Defendant’s large online

                                        25
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG      Document
                                Document41      Filed
                                                Filed05/05/25
                                                      05/01/25   Page
                                                                 Page27
                                                                      26of
                                                                         of78
                                                                            33PageID
                                                                              PageID106
                                                                                     26




  following engaged in coordinated online conduct that included mass
  commenting on Plaintiff’s social media, spreading mocking and threatening

  language,       posting   negative     reviews,    and    submitting     disruptive

  communications to Plaintiff’s customer service channels.
  133. This conduct was foreseeable and encouraged by the tone, messaging,
  and platform reach of Defendant’s McNally Video. Defendant and Covert
  Instruments ratified and benefited from the campaign without disavowing or

  attempting to mitigate the resulting harm to Plaintiff.

  134. The conspiracy’s objective was to inflict reputational injury, interfere
  with Plaintiff’s business relationships, and suppress commercial demand for
  Plaintiff’s products in favor of alternatives promoted by Covert Instruments

  and affiliated with Defendant.
  135. As a direct and proximate result of the conspiracy and resulting acts in
  furtherance of it, Plaintiff suffered reputational harm, loss of sales,

  cancellation of prospective customer relationships, and increased expenditures

  to restore brand integrity and public trust.

                                       Count VIII
                                       Trade Libel
  136. Plaintiff repeats and realleges paragraphs 1 through 83 as if fully set
  forth herein.

  137. This count arises from false and disparaging statements published by
  Defendant concerning the quality, functionality, and performance of Plaintiff’s
  physical product — namely, its proprietary trailer lock — as opposed to

  Plaintiff’s brand or reputation.
  138. Defendant published and widely disseminated the McNally Video to

                                           26
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG       Document
                                 Document41    Filed
                                               Filed05/05/25
                                                     05/01/25   Page
                                                                Page28
                                                                     27of
                                                                        of78
                                                                           33PageID
                                                                             PageID107
                                                                                    27




  third parties that portrayed Plaintiff’s lock as defective and easily bypassed.
  The presentation mischaracterized the product’s security features and falsely

  suggested that it could be compromised in seconds using basic tools.
  139. These statements and implications were made with malice or with
  reckless disregard for the truth and without due diligence or technical

  accuracy. Defendant omitted critical context, including the use of specialized

  tools, rehearsal time, or manipulated conditions that would not be present in
  real-world use.

  140. The statements were materially false and concerned the product’s
  physical attributes, mechanical performance, and suitability for its advertised
  use — all of which are provable and verifiable facts.

  141. Defendant made these statements publicly, and they were viewed by
  millions   of     consumers,    including    prospective      customers,   industry
  professionals, and product distributors.

  142. As a direct result of these false product-specific claims, Plaintiff suffered
  special damages, including but not limited to lost sales, disruption of
  distribution channels, and harm to product marketability.

                             Demand for Jury Trial
  143. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
  hereby demands a trial by jury on all issues so triable.

                                  Prayer for Relief

  WHEREFORE, Plaintiff respectfully requests that this Court enter judgment
  in it favor and against Defendant, awarding the following relief:

   i.   As to Count I – Copyright Infringement (17 U.S.C. § 501 et seq.):


                                          27
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG        Document
                                  Document41    Filed
                                                Filed05/05/25
                                                      05/01/25   Page
                                                                 Page29
                                                                      28of
                                                                         of78
                                                                            33PageID
                                                                              PageID108
                                                                                     28




            a. An award of Plaintiff’s actual damages and any additional profits
               of Defendant attributable to the infringement pursuant to 17

               U.S.C. § 504(b), or, in the alternative, statutory damages under 17

               U.S.C. § 504(c);
            b. An award of enhanced statutory damages of up to $150,000 for

               willful infringement;
            c. A permanent injunction prohibiting Defendant from further

               copying, publishing, or distributing the Proven Video or any

               derivative thereof;

            d. An award of Plaintiff’s full costs and reasonable attorneys’ fees
               under 17 U.S.C. § 505.

   ii.   As to Count II – Defamation by Implication:
            a. An award of general and special damages for loss of reputation,

               goodwill, and standing in the community resulting from the

               defamatory implications about its business integrity;

            b. An award of punitive damages under Fla. Stat. §768.72 for the

               Defendant’s publication of a video that knowingly or recklessly

               implied false facts about Plaintiff’s business integrity, including
               through selective editing, calculated omissions, and misleading

               tone designed to discredit Plaintiff before millions of viewers

            c. A permanent injunction prohibiting Defendant from republishing

               the defamatory content or further implying that Plaintiff engages
               in dishonest or deceptive business practices.

  iii.   As to Count III – False Advertising (15 U.S.C. § 1125(a)):


                                           28
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document41    Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page30
                                                                   29of
                                                                      of78
                                                                         33PageID
                                                                           PageID109
                                                                                  29




          a. An award of Plaintiff’s actual damages and corrective advertising
             costs;

          b. An award of Defendant’s profits attributable to the false

             advertising;
          c. Treble damages under 15 U.S.C. § 1117(a) due to willful and

             deliberate conduct;
          d. A permanent injunction prohibiting Defendant from making false

             or   misleading    commercial statements         regarding   Plaintiff’s

             products;

          e. An order of specific performance requiring Defendant to publish
             corrective statements on each platform where the false advertising

             was distributed — including YouTube, Instagram, TikTok, and
             Facebook — to clarify that Plaintiff’s lock product was not fairly or

             accurately represented in the McNally Video and to retract any

             misleading implications about its quality, performance, or

             security;

          f. An award of Plaintiff’s attorneys’ fees and costs.

  iv.   As to Count IV – Violation of the Florida Deceptive and Unfair Trade
        Practices Act (FDUTPA):

          a. An award of actual damages under Fla. Stat. § 501.211(2);

          b. A permanent injunction enjoining further deceptive acts or

             practices;
          c. An award of attorneys’ fees and costs pursuant to Fla. Stat. §

             501.2105.


                                        29
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document41        Filed
                                                Filed05/05/25
                                                      05/01/25   Page
                                                                 Page31
                                                                      30of
                                                                         of78
                                                                            33PageID
                                                                              PageID110
                                                                                     30




   v.    As to Count V – Tortious Interference with Business Relationships:
           a. An award of damages for disruption of existing and prospective

              business relationships;

  vi.    As to Count VI – Unjust Enrichment:
           a. An order requiring Defendant to disgorge all financial benefits,

              revenues, engagement metrics, affiliate traffic, and other gains
              derived from the unauthorized use and commercial exploitation of

              Plaintiff’s copyrighted content and branding

           b. Restitution in the amount of unjust benefits retained by

              Defendant, including social media monetization, increased
              promotional exposure, and traffic directed to affiliated entities

              such as Covert Instruments
  vii.   As to Count VII – Civil Conspiracy:

           a. An award of special damages for commercial harm to Plaintiff’s

              product, including lost sales, disruption of distribution channels,

              and damage to product marketability;

           b. An award of punitive damages under Fla. Stat. §768.72 to address

              the willful orchestration and ratification of a coordinated scheme
              intended to damage Plaintiff’s brand through widespread public

              ridicule, false online reviews, and targeted harassment, and to

              deter similar conspiratorial conduct designed to weaponize social

              media audiences against commercial competitors.
 viii.   As to Count VIII – Trade Libel:

           a. An award of special damages, including lost sales, loss of product


                                           30
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document41     Filed
                                             Filed05/05/25
                                                   05/01/25   Page
                                                              Page32
                                                                   31of
                                                                      of78
                                                                         33PageID
                                                                           PageID111
                                                                                  31




              marketability, and the cost of corrective messaging;
           b. An award of punitive damages under Fla. Stat. §768.72 based on

              Defendant’s malicious and/or reckless publication of misleading

              content   concerning   the     physical   attributes   and   security
              functionality of Plaintiff’s lock product, made with the intent to

              discredit Plaintiff’s product and divert consumer trust toward
              competing commercial interests.

  ix.   As to All Counts:

           a. Pre- and post-judgment interest as permitted by law;

           b. Such other and further relief as this Court deems just, equitable,
              and proper under the circumstances.




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                                        31
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document41   Filed
                                          Filed05/05/25
                                                05/01/25   Page
                                                           Page33
                                                                32of
                                                                   of78
                                                                      33PageID
                                                                        PageID112
                                                                               32
Case
Case8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document41    Filed
                                           Filed05/05/25
                                                 05/01/25   Page
                                                            Page34
                                                                 33of
                                                                    of78
                                                                       33PageID
                                                                         PageID113
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  Dated: May 1, 2025                Respectfully Submitted,




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                                      33
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 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41-1 Filed
                                             Filed
                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 35 1ofof784 PageID
                                                                             PageID 114
                                                                                    34




                                EXHIBIT A
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41-1 Filed
                                             Filed
                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 36 2ofof784 PageID
                                                                             PageID 115
                                                                                    35
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41-1 Filed
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                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 37 3ofof784 PageID
                                                                             PageID 116
                                                                                    36
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41-1 Filed
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                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 38 4ofof784 PageID
                                                                             PageID 117
                                                                                    37
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  391ofof78
                                                                          14PageID
                                                                             PageID118
                                                                                    38




                             EXHIBIT B
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  402ofof78
                                                                          14PageID
                                                                             PageID119
                                                                                    39




                             YOUTUBE VIDEO
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  Time: 0:01
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
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                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
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                                                                  413ofof78
                                                                          14PageID
                                                                             PageID120
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  Time: 0:02




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Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
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                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  424ofof78
                                                                          14PageID
                                                                             PageID121
                                                                                    41




  Time: 0:04




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Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  435ofof78
                                                                          14PageID
                                                                             PageID122
                                                                                    42




  Time: 0:06




  Time: 0:07
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
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                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  446ofof78
                                                                          14PageID
                                                                             PageID123
                                                                                    43




  Time: 0:08




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Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  457ofof78
                                                                          14PageID
                                                                             PageID124
                                                                                    44




  Time: 0:10




  Time: 0:11
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  468ofof78
                                                                          14PageID
                                                                             PageID125
                                                                                    45




  Time: 0:12




  Time: 0:13
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Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 41-2 Filed
                                              Filed
                                                  05/05/25
                                                    05/01/25 Page
                                                               Page
                                                                  479ofof78
                                                                          14PageID
                                                                             PageID126
                                                                                    46




  Time: 0:14
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 1-2
                                      4 Filed
                                          Filed05/05/25
                                                05/01/25 Page
                                                          Page4810ofof7814PageID
                                                                           PageID127
                                                                                  47




                          INSTAGRAM VIDEO
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Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 1-2
                                      4 Filed
                                          Filed05/05/25
                                                05/01/25 Page
                                                          Page4911ofof7814PageID
                                                                           PageID128
                                                                                  48
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG    Document
                              Document 1-2
                                       4 Filed
                                           Filed05/05/25
                                                 05/01/25 Page
                                                           Page5012ofof7814PageID
                                                                            PageID129
                                                                                   49




                             FACEBOOK VIDEO
                     https://www.facebook.com/McNallyOfficial1/
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
                             Document 1-2
                                      4 Filed
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                                                05/01/25 Page
                                                          Page5113ofof7814PageID
                                                                           PageID130
                                                                                  50
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG     Document
                               Document 1-2
                                        4 Filed
                                            Filed05/05/25
                                                  05/01/25 Page
                                                            Page5214ofof7814PageID
                                                                             PageID131
                                                                                    51




                               TIKTOK VIDEO
        https://www.tiktok.com/@mcnallyofficial/video/7489223700735118622?lang=en
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41-3 Filed
                                             Filed
                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 53 1ofof788 PageID
                                                                             PageID 132
                                                                                    52




                               EXHIBIT C
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
                             Document41-3 Filed
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                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 54 2ofof788 PageID
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                                                                                    53




  0:19.699




  0:25.832 - No Blue Spot
Case
 Case8:25-cv-01119-MSS-LSG
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                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 55 3ofof788 PageID
                                                                             PageID 134
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  0:28.132 - Blue Spot Very Visible




  0:28.532




  0:28.649
Case
 Case8:25-cv-01119-MSS-LSG
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                                                   05/01/25 Page
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                                                                 56 4ofof788 PageID
                                                                             PageID 135
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  0:29.199




  0:29.216
Case
 Case8:25-cv-01119-MSS-LSG
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                                                              Page
                                                                 57 5ofof788 PageID
                                                                             PageID 136
                                                                                    56




  0:29.282




  0:30.299
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 Case8:25-cv-01119-MSS-LSG
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                                                                 58 6ofof788 PageID
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  0:30.582




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 Case8:25-cv-01119-MSS-LSG
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                                                   05/01/25 Page
                                                              Page
                                                                 59 7ofof788 PageID
                                                                             PageID 138
                                                                                    58




  0:31.882




  0:30.949 - Blue Spot Disappearing
Case
 Case8:25-cv-01119-MSS-LSG
      8:25-cv-01119-MSS-LSG Document
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                                                05/05/25
                                                   05/01/25 Page
                                                              Page
                                                                 60 8ofof788 PageID
                                                                             PageID 139
                                                                                    59




  0:30.966 - Blue Spot Gone
Case
Case 8:25-cv-01119-MSS-LSG
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Case 8:25-cv-01119-MSS-LSG
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Case 8:25-cv-01119-MSS-LSG
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Case 8:25-cv-01119-MSS-LSG
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Case 8:25-cv-01119-MSS-LSG
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Case 8:25-cv-01119-MSS-LSG
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                                                               Page
                                                                  666ofof78
                                                                          14PageID
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               AMAZON – PRODUCT LISTING COMMENTS:
Case
Case 8:25-cv-01119-MSS-LSG
     8:25-cv-01119-MSS-LSG   Document
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                                                                  677ofof78
                                                                          14PageID
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                      PROVEN’S YOUTUBE VIDEOS:
                     https://www.youtube.com/shorts/dbMmc-diolc
Case
Case 8:25-cv-01119-MSS-LSG
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Case 8:25-cv-01119-MSS-LSG
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                                                          Page7010ofof7814PageID
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                       MCNALLY’S YOUTUBE POST:
                     https://www.youtube.com/shorts/YjzlmKz_MM8
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Case 8:25-cv-01119-MSS-LSG
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                 DIRECT MESSAGES FROM CONSUMERS:
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Case 8:25-cv-01119-MSS-LSG
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                             Document 1-4
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                                                05/01/25 Page
                                                          Page7414ofof7814PageID
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             Case
              Case8:25-cv-01119-MSS-LSG
JS 44 (Rev. 03/24) 8:25-cv-01119-MSS-LSGCIVIL
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                                                                 05/01/25 Page
                                                                            Page
                                                                               75 1ofof782 PageID
                                                                                           PageID 154
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
           Proven Industries, Inc.                                                                            McNally, Trevor

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant               Spotsylvania County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
         The Plus IP Firm: 101 NE 3rd Avenue, Ste. 1500, Fort
         Lauderdale, FL 33301; 954-332-3584

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖   3   Federal Question                                                                    PTF         DEF                                        PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State            1           1     Incorporated or Principal Place         4     4
                                                                                                                                                         of Business In This State

    2   U.S. Government                    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                            FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure              422 Appeal 28 USC 158            375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881            423 Withdrawal                   376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                 28 USC 157                       3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                      INTELLECTUAL                   400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                  PROPERTY RIGHTS                  410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                             ✖   820 Copyrights                   430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                  340 Marine                           Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage               Relations                         861 HIA (1395ff)                 490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage           740 Railway Labor Act                 862 Black Lung (923)             850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability         751 Family and Medical                863 DIWC/DIWW (405(g))               Exchange
                                            Medical Malpractice                                            Leave Act                         864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation            865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                Income Security Act               FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                   443 Housing/                         Sentence                                                             or Defendant)               896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                         871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                            26 USC 7609                     Act/Review or Appeal of
                                            Employment                   Other:                        462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                            Other                        550 Civil Rights                  Actions                                                                State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                (specify)                 Transfer                          Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           17 USC 501; 15 USC 1125
VI. CAUSE OF ACTION Brief description of cause:
                                           Copyright Infringement 17 usc 501; False Advertising 15 usc 1125; Defamation
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                                 DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                            MAG. JUDGE
            Case
             Case8:25-cv-01119-MSS-LSG
                  8:25-cv-01119-MSS-LSG Document
JS 44 Reverse (Rev. 03/24)               Document41-5 Filed
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                                                            05/05/25
                                                               05/01/25 Page
                                                                          Page
                                                                             76 2ofof782 PageID
                                                                                         PageID 155
                                                                                                75
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If there are related cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
    Case
     Case8:25-cv-01119-MSS-LSG
          8:25-cv-01119-MSS-LSG Document
                                 Document41-6 Filed
                                                 Filed
                                                    05/05/25
                                                       05/01/25 Page
                                                                  Page
                                                                     77 1ofof782 PageID
                                                                                 PageID 156
                                                                                        76

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the

                                                     Middle District of Florida
                                                 __________             __________

                   Proven Industries, Inc.                        )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                         Civil Action No.
                                                                  )
                        McNally, Trevor                           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Trevor McNally
                                       7003 Whig Hill Drive
                                       Spotsylvania, Virginia 22551-2951




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Derek Fahey, Esq. of The Plus IP Firm
                                       101 NE 3rd Avenue, Suitre 1500, Fort Lauderdale, FL 33301
                                       Derek@plusfirm.com; Austin@plusfirm.com; Jacqueline@plusfirm.com;
                                       Docket@plusfirm.com
                                       954-332-3584



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
      Case
       Case8:25-cv-01119-MSS-LSG
            8:25-cv-01119-MSS-LSG Document
                                   Document41-6 Filed
                                                   Filed
                                                      05/05/25
                                                         05/01/25 Page
                                                                    Page
                                                                       78 2ofof782 PageID
                                                                                   PageID 157
                                                                                          77

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any) Trevor McNally
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
